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                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              CRIMINAL NO. 20-

                                                      DATE    FILED:-
KYLE PAINE                                            VIOLATIONS:
                                                      f8 U.S.C. S 2422(b) (use of an interstate
                                                      commerce facility to entice a minor, and
                                                      attempt to entice a minor, to engage in
                                                      sexual conduct- I count)
                                                      l8 U.S.C. $ 1470 (transfer and attempted
                                                      transfer of obscene material to a minor    -
                                                      I count)
                                                      l8 u.s.c. $ 22s2(a)(a)@), (b)(2)
                                                      (possession of child pornography - I
                                                      count)
                                                      Notice of forfeiture

                                          INDICTMENT

                                          COUNT ONE

THE GRAND JL]RY CHARGES THAT:

               On or about March I    l, 2019 through on or about March 15, 2019, in the Eastem

District of Pennsylvania, defendant

                                          KYLE PAII\E

used a means and   facility of interstate and foreign commerce, that is, the Intemet, to knowingly

persuade, induce, entice, and coerce a minor to engage in sexual activity for which any person

could be charged with a criminal offense, that is, rape ofa child, in violation of Title 18,

Pa.C.S.A. g 3l2l(c), involuntary deviate sexual intercourse with a child, in violation of Title 18,




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    Pa.C.S.A. $ 3123(b), and the manufacturing of child pomography, in violation of Title 18,

    United States Code, Section 2251(a), and attempted to do so.

                  In violation of Title 18, United States Code, Section 2422(b).




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                                            COUNTTWO

TIIE GRAI\D JI]RY FI,JRTHER CHARGES THAT:

              On or about March 11, 2019, in the Eastern District of Pennsylvania, defendant

                                            KYLE PAINE

used a means or   facility of interstate commerce, that is, the lntemet, to knowingly transfer

obscene matter to a minor who had not attained the age     of l6   years, and the defendant knew that


the minor was under the age   of   16 years at the time that he transferred the obscene matter, and


attempted to do so.

               In violation of Title 18, United States Code, Section 1470.




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                                       COIINT THREE

THE GRAND JURY FURTHER CHARGES THAT:

              On or about May 7,2019, in the Eastern District of Pennsylvania, and elsewhere,

defendant

                                         KYLE PAII\E

knowingly possessed matter, that is, a Samsung 39 cell phone, bearing international mobile

equipment identiry (IMEI) 355027090048202, which contained visual depictions that had been

shipped and transported using any means and facility ofinterstate and foreigr commerce, and in

and affecting interstate and foreign commerce. The production of these visual depictions

involved the use of minors engaging in sexually explicit conduct, and the visual depictions were

of minors engaging in sexually explicit conduct.

               In violation of Title 18, United States Code, Sections 2252(a)(4)(B).




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                                         NOTICE OF F ORFEITURE

TIIE GRAND JURY FURTHER CHARGES THAT:

                  l.     As a result of the violations ofTitle 18, United States Code, Sections

2422(b),1470 and2252(4@)@), as set forth in this indictment, defendant

                                                  I(YLE PAINE

shall forfeit to the United States of America:

                          (a)        any visual depiction, or any      film, videotape, or other matter which

contains any child pomography, which was produced, transported, mailed, shipped, or received

as a result   of such violations     as charged   in the indictment;

                          (b)         any property, real or personal, constituting or derived from any

proceeds obtained directly or indirectly from such violations, pusuant to             l8 U.S.C.       $   2422b);

and

                          (c)         any property, real or personal, used or intended to be used to

commit or to facilitate the commission of such violations, including, but not limited to:

                                      (l)    One Samsung 59 cell phone, bearing intemational mobile

                                             equipment identity (IMEI) 355027 090048202: and

                                      (2)    One Samsung S8 cell phone, bearing intemational mobile

                                             equipment identity (IMEI) 3577 55080257 429.

                  2.      If   any   ofthe property subject to forfeiture,    as a result   of any act or

omission of the defendant:

                          (a)         cannot be located upon the exercise ofdue diligence;

                          (b)         has been transferred or sold to, or deposited     with,   a   third party;


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                                   (c)    has been placed beyond    thejurisdiction ofthe Court;

                                   (d)    has been substantially diminished in value; or

                                   (e)    has been commingled      with other property which cannot be divided

                                          without difEculff;

it   is the intent   ofthe United States, pursuumt to Title        18, United States Code, Sections 2428 and


2253, to seek forfeiture of any other property of the defendant up to the value ofthe property

subject to forfeiture.

                     All pursuant to Title      18, United States Code, Sections   2   428 and 2253.




                                                                   A TRUE BILL:




                                                                   GR{ND JURY FOREPERSON



                     t   )   .1/   /,"2
WILLIAM M.                         AIN
United States AttorneY




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